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                        IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION
 LEAGUE OF UNITED LATIN AMERICAN                §
  CITIZENS, et al.,                             §
                                                §
   Plaintiffs,                                  §
                                                §
                                                                Case No. 3:21-cv-00259
 V.                                             §
                                                                     [Lead Case]
                                                §
 GREG ABBOTT, et al.,                           §
                                                §
   Defendants.                                  §
                                                §

 UNITED STATES OF AMERICA,                      §
                                                §
   Plaintiff,                                   §
                                                §
 V.                                             §               Case No. 3:21-cv-00299
                                                §                [Consolidated Case]
 STATE OF TEXAS, et al.,                        §
                                                §
   Defendants.                                  §
                                                §

                                            ORDER

         Upon consideration of Movants Texas House Representatives Ryan Guillen, Brooks Landgraf,

and John Lujan’s Motion to Quash or Modify Deposition Subpoenas and Motion for Protective Or-

der, it is hereby

         ORDERED that the Motion is GRANTED; and it is further

         ORDERED that the deposition subpoenas issued to Movants are QUASHED.
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    SO ORDERED and SIGNED this ___ day of May, 2022.




                                David C. Guaderrama
                                U.S. District Judge
                                U.S. District Court for the Western District of Texas

                                On behalf of

                                Jerry E. Smith
                                U.S. Circuit Judge
                                U.S. Court of Appeals for the Fifth Circuit

                                Jeffrey V. Brown
                                U.S. District Judge
                                U.S. District Court for the Southern District of Texas




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